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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA


 UNITED STATES OF AMERICA


                                                           Case No. 6:18-CR-014-6

                                                           ORDER ON MOTION FOR
                                                           SENTENCE REDUCTION UNDER
                                                           18 U.S.C.§ 3582(c)(1)(A)
 JAMIE ELTON NEWSOME
                                                           (COMPASSIONATE RELEASE)




         Upon motion by the defendant for a reduction in sentence under 18 U.S.C. § 3582(c)(I)(A),

and after considering the applicable factors provided in 18 U.S.C. § 3553(a) and the applicable

policy     statements     issued    by     the    United     States     Sentencing     Commission,

IT IS ORDERED that the motion is:


□ GRANTED


         □ The defendant's previously imposed sentence of imprisonment of

is reduced to                                       If this sentence is less than the amount of time


the defendant already served, the sentence is reduced to a time served; or

         □ Time served.


         If the defendant's sentence is reduced to time served:


                □       This order is stayed for up to fourteen days, for the verification of the
                        defendant's residence and/or establishment of a release plan, to make
                        appropriate travel arrangements, and to ensure the defendant's safe release.
                        The defendant shall be released as soon as a residence is verified, a release
                        plan is established, appropriate travel arrangements are made, and it is safe
                        for the defendant to travel. There shall be no delay in ensuring travel
                        arrangements are made. If more than fourteen days are needed to make
                        appropriate travel arrangements and ensure the defendant's safe release, the
                        parties shall immediately notify the court and show cause why the stay
                        should be extended; or
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         □       There being a verified residence and an appropriate release plan in place,
                 this order is stayed for up to fourteen days to make appropriate travel
                 arrangements and to ensure the defendant's safe release. The defendant shall
                 be released as soon as appropriate travel arrangements are made and it is
                 safe for the defendant to travel. There shall be no delay in ensuring travel
                 arrangements are made. If more than fourteen days are needed to make
                 appropriate travel arrangements and ensure the defendant's safe release,
                 then the parties shall immediately notify the court and show cause why the
                 stay should be extended.

  □ The defendant must provide the complete address where the defendant will reside upon

  release to the probation office in the district where they will be released because it was not

  included in the motion for sentence reduction.


  □ Under 18 U.S.C. § 3582(c)(1)(A), the defendant is ordered to serve a "special term" of

  □ probation or □ supervised release of        months (not to exceed the unserved portion of

  the original term of imprisonment).

         □ The defendant's previously imposed conditions of supervised release apply to
         the "special term" of supervision; or

         □ The conditions of the "special term" of supervision are as follows:




  □ The defendant's previously imposed conditions of supervised release are unchanged.

  □ The defendant's previously imposed conditions of supervised release are modified as

  follows:
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□ DEFERRED pending supplemental briefing and/or a hearing. The court DIRECTS the United

States Attorney to file a response on or before                          , along with all Bureau of

Prisons records (medical, institutional, administrative) relevant to this motion.




    ENIED after complete review of the motion on the merits. (Doc. 623.)

           ACTORS CONSIDERED (Optional)

       Even assuming Defendant could establish that his medical conditions place him at an
increased risk of severe illness if he contracts COVID-19. thus qualifying as a serious medical
condition under U.S.S.G. § 1BI.13. app. note Ua)(i). the factors of 18 U.S.C. ^ SSSBCa) weigh
against his release. Releasing Defendant fwho has alreadv received sentencing benefits under his

plea agreement and by virtue of a downward departure") before he has served half of his sentence
would not reflect the seriousness of his offense, promote respect for the law, provide just
punishment, and afford adequate deteiTence. Further, his release would not be justified in light of
the nature and circumstances of his offense.




□   DENIED      WITHOUT        PREJUDICE        because   the   defendant   has     not   exhausted   all


administrative remedies as required in 18 U.S.C. § 3582(c)(1)(A), nor have 30 days lapsed since

receipt of the defendant's request by the warden of the defendant's facility.

IT IS SO ORDERED. ^
Dated: Decembe^g4?^!^20

                                                 J. RANQAUHALL, Ci^IEF JUDGE'
                                                 UNITEdItATES DISTRICT COURT
                                                  SOUTHEP^ DISTRICT OF GEORGIA
